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PRICE LAW GROUP, APC

G Thomas Ma;rtin III (SBN 21811§6
15760 Ventura Blvd., Suite 110@&9
Encinc), Califomia 91436
Telephone: 818.9()7.203()
Faesimile: 818.205'.3 730
tom@plglawfxrm.com

Atton‘iey for Plaintiff
MARIA GONZALEZ

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UNITED STATES I)ISTRICT COURT
CENTRAL I)ISTRICT OF CALIFORNIA

MARIA GONZALEZ,
Piaimiff,

VS.

ADIR INTERNATIONAL, LLC d/b/a
CURACAO, a forei limited liability
company; and DOE 1 to 10, inclusive

Defendants.

 

 

 

COMPLAINT AND DEMAND FOR
.]URY TRIAL FOR:

1. VIOLAT:ON OF ROSEN':‘HAL
FAIR DEBT cc)LLECTION
PRACT:CES ACT [CAL. Civ.
CODE § 1788]

2. VIOLATION <)F THE
TELEPHONE CONSUMER
PROTECTION ACT [47 U.S.C. §
227]

COMPLAINT FOR DAMAGES
INTRODUCTION

1. Maria Gonzalez (Plaintiff) brings this action to Secure redress from

 

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Adir Intematic)nal, LLC dfb/a Curacee (Defendant) for Vioiations Of the Rosenthai
Fair Debt Coilection Practices Act, CAL. CIV. CODE § 1788 (RFDCPA) and the
Telephone Consumer Protection Act, 47 U.S.C. § 227 (TCPA). The RFDCPA

 

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cOMPLAINT FOR DAMAGES

 

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1 prohibits false or deceptive practices in connection With the collection of debts.
2 The TCPA is a federal statute enacted in 1991 that broadly regulates the use of
3 automated telephone equipment Arnong other things, the TCPA prohibits certain
4 unsolicited marketing cails, restricts the use of automatic dialers or prerecorded
5 messages, and delegates rulemaking authority to the Federal Corninunications
6 Cornmission (FCC).
7 .JURISDICTION ANI) VENUE
8 2. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as
9 Plaintift’s TCPA claims arise under the laws of the United States. Further,
10 jurisdiction in this Court is proper for Plaintift’s RFDCPA claims under 28
11 U.S.C. § 1367(a) as Plaintift’ s RFDCPA clairns are so related to Plaintifi" s
12 TCPA claims that they form part of the same case or controversy under Article 111
13 of the United States Constitution.
14 3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(1))
15 because the acts and transactions alieged in this Cornpiaint occurred here,
16 Plaintiff resides here, and Defendant transacts business here.
17 PARTIES
18 4. Maria Gonzaiez (Plaintit`t) is an individual, residing in Arleta, Los
19 Angeles County, California 91331. Plaintit`f is a natural person from whom a
20 debt collector seeks to collect a consumer debt which is due and owing or alleged
21 to be due and owing from such person and thus Piaintiff is a “debtor” as defined
22 by the RPDCPA, CAL. CIV. CODE § 1788.2(h).
23 5. Adir International, LLC d/b/a Curacao (Defendant) is a limited
24 liability company, registered under the laws of the State of Delaware, with its
25 principal place of business located at 1605 W. Oiyrnpic Bouievard, Suite 600, Los
26 Angeles, Calit`ornia 90015. Defendant’s Caiit`ornia entity number is
27 200519310227. Det`endant“s registered agent for service of process is The
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COMPLAINT FOR DAMAGES

 

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1 Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,
2 Wilrnington, Delaware, DE 19801. Upon information and belief, Adir
3 International, LLC reguiarly does business as “Cnracao."" Upon information and
4 belief, Det`endant has retail locations Within the State of California.
5 6. Uponl information and belief, in the ordinary course of bnsiness,
6 regularly, on behalf of itself or others, Defendant engages in debt collection and,
7 as such, Detendant is a "debt coiiector" as defined by the RFI)CPA, CAL. CIV.
8 CODE § 1788.2(c), Upon information and belief, I)et`endant regularly engages in
9 the collection ot` debt by telephone in several states including, California.
10 7. The true names and capacities, whether individual, corporate, or in
11 any other form, of Detendants DOES l through 10, inciusive, and each of them,
12 are unknown to Plaintiff, who therefore sues them by such fictitious names
13 Plaintiff wiil seek leave to amend this Complaint to show the true names and
14 capacities of DOES l through 10 should they be discovered
15 FACTUAL ALLEGATIONS
16 8. Upon information and belief, Piaintiff allegedly incurred a debt with
-17 Cnracao Department Store located at 1605 W. Olympic Blvd., Los Angeles,
18 Calit`ornia 90015 (alleged debt). Upon information and belief, Plaintiff allegedly
19 incurred the alleged debt prior to l\/larch 14, 2013. Upon information and belief,
20 the alleged debt is identified by account number(s) 53188119-01 and/or
21 53188119»99.
22 9. The alleged debt consisted of money, property or their equivalent7
23 due or owing or alleged to be due or owing from a natural person by reason of a
24 consumer credit transaction and as such, qualities as "consurner debt," as defined
25 by the RFDCPA, CAL. Crv. Conn § 1788.2(1).
26 10. At ali time relevant to this action, Defendant contacted Plaintiff for
27 the purposes of collecting the alleged debt.
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COMPLAINT FOR DAMAGES

 

 

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11. Prior to February, 2013, Plaintiff personally informed Defendant
that Plaintiff was unable to pay the alleged debt

12. Upon information and belief, at all times relevant to this action,
Defendant owned, operated and/or controlled telephone numbers (213) 373-0160,
(213) 639-2030, (213) 639, 2060, (213) 639-2090, (323) 652-1377, (323) 652-
1205, (323) 652-1499, (213)`458~2514 and (323) 327-6077. Upon information
and belief, at all times relevant to this action, Defendant contacted Plaintiff from,
but not limited to, telephone number numbers (213) 373~0160, (213) 639-2030,
(213) 639, 2060, (213) 639-2090, (323) 652~1377, (323) 652-1205, (323) 652~
1499, (213) 458_2514 and (323) 327~6077 for the purpose of collecting the
alleged debt

13. Within one year prior to the filing of this action, Defendant
repeatedly and continuously called Plaintiff at Plaintiff”s residential telephone
number (818) 899-4859 and at Plaintiff’s cellular telephone number (818) 836-
2734 for the purpose of collecting the alleged debt Within one year prior to the
filing of this action, Defendant repeatedly and continuously sent text messages
Plaintiff at Plaintiff’ s cellular telephone number (818) 83 6-2734 for the purpose
of collecting the alleged debt Upon information and belied, Defendant did not
have permission to send text messages to Plaintiff’ s cellular telephone number
(818) 83 6»~2734 for the purpose of collecting the alleged debt

14. Within one year prior to the filing of this action, Defendant contacted
Plaintiff for the purpose of collecting the alleged debt and threatened to take legal
action against Plaintiff if Plaintiff failed to pay the alleged debt llpon

information and belief, at the time Defendant threatened to take legal action

 

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against Plaintiff it did not actually intend to take legal action against Plaintiff.
15. On or about February 15, 2013, Defendant contacted Plaintiff for the

purpose of collecting the alleged debt and left a voicemail message on l?laint;iffJ s

 

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COMPLAINT FOR DAMAGES

 

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1 telephone in which Defendant said it was going to start formal proceedings

2 against Plaintiff for breach of contract Upon information and belief, at the time

3 Defendant threatened to take legal action against Plaintiff it did not actually

4 intend to take legal action against Plaintiff. Upon information and belief,

5 Defendant’s threat to take legal action against Plaintiff was a false representation

6 that a legal proceeding has been, is about to be, or will be instituted unless

7 payment of alleged debt was made.

8 16. On or about February 19, 2013, Defendant called Plaintiff for the

9 purpose of collecting the alleged debt. Defendant left a voicemail on Plaintiff’ s
10 telephone saying that it had verified her employment Upon information and
11 belief, Defendant’s statement that it had verified Plaintiff’ s employment was
12 false. Upon information and belief, Defendant’s statement that it had verified
13 Plaintiff` s employment was done for the purpose of threatening that non~payment
14 of the alleged debt would result in Plaintift’ s wages being garnished At the time
15 Defendant said it verified Plaintiff’ s employment, Plaintiff was actually
16 unemployed and had been unemployed since November 2012. Upon information
17 and belief, Defendant’s statement that it had verified Plaintiff” s employment was
1 8 false.
19 17. On or about February 19, 2013, Defendant called Plaintiff for the
20 purpose of collecting the alleged debt l)efendant left a voicernail on Plaintiff’ s
21 telephone saying that it was going to file a civil claim against Plaintiff for breach
22 of contract if Plaintiff failed to pay the alleged debt Upon information and
23 belief, at the time Defendant threatened to take legal action against Plaintiff it did
24 not actually intend to take legal action against Plaintiff. Upon information and
25 belief, Defendant’s threat to take legal action against Plaintiff was a false
26 representation that a legal proceeding has been, is about to be, or will be instituted
27 unless payment of alleged debt was made.
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COMPLAR\`!T FOR DAMAGES

 

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1 18. Upon information and belief, as of the date of the filing of this
2 action, Defendant has never filed a civil action against Plaintiff arising from or
3 relating to the alleged debt.
4 19. On or about l\/larch 8, 2013, Defendant used obscene, profane and
5 abusive language while attempting to collect the allege debt from the client On
6 or about March 8, 2013, Plaintiff spoke with Defendant. Defendant indentitied
7 identified himself as “Edgar.” “Ed'gar” was extremely rude to Plaintiff. “Edgar”
8 used obscene and/or profane language “Edgar” harassed Plaintiff for not paying
9 the alleged debt. ccEdgar” made Plaintiff feel extremely uncomfortable and
10 caused Plaintiff to suffer great stress.
ll 20. During the March 8, 2013 conversation between Plaintiff and
12 Defendant, “Edgar” told 'Plaintiff that he knew Plaintiff was a co-signer on her
13 brother’s vehicle loan. “Edgar” told Plaintiff that if she did not pay the alleged
14 debt with l)efendant, that Defendant would intercept Plaintiff s brother’s car
l5 payments in order to satisfy the alleged debt c‘Edgar” threatened Plaintiff that if
16 Plaintiff failed to pay the alleged debt then Plaintiff’s brother"`s car would be
17 repossessed Upon information and belief, Defendant does not have the legal
18 ability to intercept Plaintiff’ s brother’s car payments in order to satisfy the alleged
19 debt. Upon information and belief, Defendant did not intend to intercept
20 Plaintiff7 s brother’s car payments in order to satisfy the alleged debt Upon
21 information and belief, Defendant’s statements that it could and would intercept
22 Plaintiff” s brother’s car payments in order to satisfy the alleged debt were false.
23 21. Within one year prior to the filing of this action, Defendant placed
24 telephone calls to Plaintiff without disclosing Defendant’s identity
25 22. Within one year prior to the filing of this action, Defendant regularly
26 blocked its telephone number when it called Plaintiff for the purpose of collecting
27 the alleged debt Regularly when Defendant would call Plaintiff for the purpose
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COMPLAINT FOR DAMAGES

 

 

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of collecting the alleged debt, Defendant’s number would come up on Plaintiff` s
caller identification as “unknown.” Plaintiff knew these calls were from
Defendant because Defendant often left Plaintiff voicernails or Plaintiff would
answer the telephone and speak directly with Defendant

23. On or about, but not limited to, February 19, 2013 and March 19,
2013 Defendant called Plaintiff without disclosing Defendant’s identity. On or
about, but not limited to, February 19, 2013 and March 19, 2013 Defendant called
Plaintiff and Defendant’s number came up as “unl§nown” on Plaintiff’ s caller
identification

24. Within one year prior to the filing of this action, Defendant caused
Plaintiff`s telephone to ring repeatedly or continuously to annoy Plaintiff.

25. Within one year prior to the filing of this action, Defendant
communicated with Plaintiff with such frequency as to be unreasonable under the
circumstances and constitute harassment of Plaintiff.

26. Within one year prior to the filing of this action, Defendant regularly
called Plaintiff multiple times over the course of one day for the purpose of
collecting the alleged debt Within one year prior to the filing of this action,
Defendant called Plaintiff no less than thirteen (13) times in the course of one day
for the purpose of collecting the alleged debt Upon information and belief,
Plaintiff informed Defendant that Plaintiff was unable to pay the alleged debt
before the day Defendant contacted Plaintiff no less than thirteen (13) times in the
course of one day for the purpose of collecting the alleged debt On a separate
day, within one year prior to the filing of this action, Defendant called Plaintiff no

less than nine (9) times in the course of one day for the purpose of collecting the

 

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alleged debt Upon information and belief, Plaintiff informed Defendant that
Plaintiff was unable to pay the alleged debt before the day Defendant contacted

 

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COMPLATN'I` FOR DAMAGES

 

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1 Plaintiff no less than nine (9) times in the course of one day for the purpose of
2 collecting the alleged debt
3 27. Upon information and belief, Defendant caused Plaintiff’ s telephone
4 to ring or engaged Plaintiff in telephone calls repeatedly or continuously with the
5 intent to annoy, abuse, or harass Plaintiff.
6 28. Within one year prior to the filing of this action, Defendant called
7 Vanessa E. Aguilar at telephone number (818) 272-0989 for the purpose of
8 collecting the alleged debt During this conversation, Defendant identified
9 himself as “Edgar.” During this conversation, Defendant communicated
10 information regarding Plaintiff and the alleged debt to Vanessa E. Aguilar. Upon
1 1 information and belief, Defendant was not calling Vanessa E. Aguilar for the
12 purpose to locate Plaintiff. Upon information and belief, Defendant did not have
l3 permission to contact Vanessa E. Aguilar regarding the alleged debt
14 29. On or about l\/Iarch 14, 2013, Plaintiff filed Chapter 7 bankruptcy
15 case number l:lB~bk~l 175 8~1\/11` in the United States Bankruptcy Court for the
16 Central District of California (Banl<ruptcy Court)-
17 30. Defendant was included in Plaintiff s bankruptcy The alleged debt
18 was included in Plaintiff’ s bankruptcy
19 31. Upon information and belief, Defendant received written notice of
20 Plaintiff’ s Chapter 7 bankruptcy from the Banlcruptcy Court- Upon information
21 and belief, Defendant received written notice that Plaintiff was represented by an
22 attorney in regards to the alleged debt from the Banl<ruptcy Court.
23 32. Upon information and belief, Defendant contacted Plaintiff for the
24 purpose of collecting the alleged debt while Plaintiff was in an active Chapter 7
25 bankruptcy and after Defendant had notice Plaintiff was represented by an
26 attorney in regards to the alleged debt
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COMPLAINT FOR DAMAGES

 

 

 

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1 33. ln response to Defendant’s continued attempts to collect the alleged
2 debt even though Plaintiff was in an active Chapter 7, Plaintiff’ s attorney
3 personally contacted Defendant on March 25, 2013. Plaintift’ s attorney spoke
4 with Defendant and informed Defendant that Plaintiff filed Chapter 7 bankruptcy,
5 that Plaintiff was represented by an attorney in regards to the alleged debt and
6 that Defendant must cease from any further collection attempts against Plaintiff
7 and her bankruptcy estate
8 34. Upon information and belief, after March 25, 2013 Defendant called
9 Plaintiff and sent l’laintifftext messages for the purpose of collecting the alleged
lO debt On or about March 29, 2013, Defendant contacted Plaintiff for the purpose
11 of collecting the alleged debt
12 35. As of the date of the filing of this action, Defendant continues to
13 send Plaintiff emails for the purpose of collecting the alleged debt
14 36. Defendant’s conduct as described in detail above was done to
15 harass,, oppress, or abuse Plaintiff.
16 37. Defendant’s conduct as described in detail above amounted to a
17 false, deceptive or misleading representation or means in connection with the
18 collection of the alleged debt
19 38. Defendant’s conduct as described in detail above amounted to a
20 false, deceptive or misleading representation as to the character, amount or legal
21 status of the alleged debt.
22 39. Within one year prior to the filing of this action, Defendant
23 threatened to take legal action that cannot be legally taken or that is not intended
24 to be taken
25 40. Defendant’s conduct as described in detail above amounted to a
26 false representation or deceptive means to collect the alleged debt or to obtain
27 information about Plaintiff.
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41. Defendant’s conduct as described in detail above amounted to an
unfair or unconscionable means to collect or attempt to collect the alleged debt

42. Defendant’s conduct as described in detail above amounted to an
attempt to collect any amount not authorized by the agreement creating the debt
or otherwise permitted by law.

43. At all times relevant to this action, while conducting business in
California, l)efendant has been subject to, and required to abide by, the laws of
the United States, which included the TCPA and its related regulations that are set
forth at 47 C.F.R. § 64.1200 (TCPA Regulations), as well as the opinions,
regulations and orders issued by the courts and the FCC implementing
interpreting and enforcing the TCPA and the TCPA regulations

44. At all times relevant to this action, Defendant owned, operated and
or controlled an “automatic telephone dialing system” as defined by TCPA 47
U.S.C. § 227(a)(1) that originated, routed and/or terminated telecommunications

45. Upon information and belief, Defendant sent no less than fourteen
(14) text messages to Plaintiff at Plaintiff’ s cellular telephone number (818) 836-
2734 for the purpose of collecting the alleged debt. Upon information and belief,
Defendant never received consent to send text messages to Plaintiff on her
cellular telephone number (818) 836»»2734.

46. Upon information and belief, Defendant did not have an emergency
purpose, as defined by 47 U.S.C. § 227 (b)(l)(A), for sending text messages to
Plaintiff on her cellular telephone number (818) 836-2734.

47. Upon information and belief, Defendant violated the TCPA no less

than fourteen (14) times by sending text messages to PlaintifF s cellular telephone

 

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for the purpose of collecting the alleged debt Upon information and belief,
Defendant knew that such conduct was in violation of the TCPA. Upon

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COMPLAINT FOR DAMAGES

 

 

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l information and belief, Defendant willfully and/or knowingly violated the TCPA
2 no less than fourteen (14) times
3 FIRST CAUSE OF ACTION
4 (Viola'tion of the Rosenthal Fair Debt Collection Practices Act,
5 CAL. Crv. Con;e § 1788)
6 48. Plaintiff incorporates herein by reference all of the above paragraphs
7 of this Complaint as though billy set forth herein at length l
8 49. Defendant violated the RFDCPA. Defendant’s violations include,
9 but are not limited to, the following:
l() (a) Defendant violated CAL. CIV. CODE § l788.l0(e) by threatening to
l 1 any person that nonpayment of the consumer debt may result in the arrest of the
12 debtor or the seizure, garnishment, attachment or sale of any property or the
l3 garnishment or attachment of wages of the debtor, unless such action is in fact
14 contemplated by the debt collector and permitted by the law; and
15 (b) Defendant violated CAL. CITV. CODE § l788.l l(a) by using obscene
16 or profane language while collecting or attempting to collect a consumer debt;
l 7 and
18 (c) Defendant violated CAL. CIV. CODE § 1788.1 l(b) by placing
19 telephone calls without disclosure of the caller‘s identity, provided that an
20 employee of a licensed collection agency may identify himself by using his
21 registered alias name as long as he correctly identifies the agency he represents;
22 and
23 (d) Defendant violated CAL. CIV. CODE § l788.l l(d) by causing a
24 telephone to ring repeatedly or continuously to annoy the person called; and
25 (e) Defendant violated CAL. Cl"\f. CODE § 1788.11(e) by communicatingJ
26 by telephone or in person, with the debtor with such frequency as to be
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COMPLAINT FOR DAMAGES

 

 

 

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1 unreasonable and to constitute an harassment to the debtor under the
2 circumstances; and
3 (t) Defendant violated CAL. CIV. CODE § 1788.12(1)) by communicating
4 information regarding a consumer debt to any member of the debtor’s fami.ly,
5 other than the debtor’s spouse of the parents or the guardians of the debtor who is
6 either a minor or who resides in the same household with such parent or guardian,
7 prior to obtaining a judgment against the debtor, except where the purpose of the
8 communication is to located the debtor, or where the debtor or his attorney has
9 consented in writing to such communication; and
10 (g) Defendant violated CAL. CIV. CODE § 1788.13(21) by communicating
ll with the debtor other than in the name either of the debt collector or the person on
12 whose behalf the debt collector is acting; and
13 (h) Defendant violated CAL. CIV. CODE § 1788.13(]`) by making a false
14 representation that a legal proceeding has been, is about to be, or will be instituted
15 unless payment of a consumer debt is made; and
16 (i) Defendant violated CAL. CIV. CODE § 1788.14(0) by communicating
17 with a debtor, other than statements of account, after the debt collector was
18 notified in writing that the debtor is represented by an attorney; and
19 (i) Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
20 attempting to collect a consumer debt without complying with the provisions of
21 Sections 1692b to 1692j, inclusive, of . . . Title 15 cf the United States Code (l<` air
22 Debt Collection Practices Act).
23 (i) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
24 U.S.C. § l692c(a)(2) by communicating with a consumer in connection with the
25 collection of any debt when the debt collector knows the consumer is represented
v 26 by an attorney with respect to such debt; and
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COMPLAINT FOR DAMAGES

 

 

 

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(ii) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
U.S.C. § l692c(b) by communicating in connection with the collection of any
debt, with any person other than the consumer, his attorney, a consumer reporting
agency if otherwise permitted by law, the creditor, the attorney of the creditor, or
the attorney of the debt collector; and

(iii) Defendant violated CA;L. CN. CODE § 1788.17 by violating 15
U.S.C. § l692d by engaging in conduct, the natural consequence of which is to
harass, oppress or abuse any person in connection with the collection of the

alleged debt; and

(iv) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
U.S.C. § l692d(5) by causing Plaintiff’ s phone to ring or engaging Plaintiff in
telephone conversations repeatedly; and

(v) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 -
U.S.C. § 1692d(6) by placing telephone calls without meaningful disclosure of
the caller’s identity; and

(vi) Defendant violated CAL. CIV. CODE § l788.17 by violating 15
U.S.C. § 1692e by using false, deceptive, or misleading representation or means
in connection with the collection of any debt; and

(vii) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
U.S.C. § 1692e(2) by making a false representation of the character, amount or
legal status of any debt; and

(viii) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
U.S.C. § 1692e(4) by making a representation or implication that nonpayment of

any debt will result in the arrest or imprisonment of any person or the seizure,

 

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garnishment, attachment, or sale of any property or wages of any person unless v
such action is lawful and the debt collector or creditor intends to take such action;

and

 

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COMPLAl`NT FOR DAMAGES

 

 

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(ix) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
U.S.C. § l692e(5) by threatening to take any action that cannot legally be taken
or that is not intended to be taken; and

(X) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
U.S.C. § l692e(10) by using any false representation or deceptive means to
collector attempt to collect any debt or to obtain information concerning a
consumer; and

(Xi) Defendant violated CAL. CIV. CODE § 1788. 17 by violating 15
U.S.C. § _l 692f by using unfair or unconscionable means in connection with the
collection of an alleged debt; and

(xii) Defendant violated CAL. CIV. CODE § l788.l7 by violating 15
U.S.C. § 1692f(l) by attempting to collect any amount (including any interest,
fee, charge, or expense incidental to the principal obligation) unless such amount
is expressly authorized by the agreement creating the debt or permitted by law.

50. Defendant’s acts as described above were done intentionally with the
purpose of coercing Plaintiff to pay the alleged debt.

5 l. As a result of the foregoing violations of the RFDCPA, Defendant is
liable to Plaintiff for declaratory judgment that Defendant’s conduct violated the
RFDCPA, actual damages, statutory damages, and costs and attorney fees.

SECOND CAUSE OF ACTION
(Violation of the Telephone Consumer Protection Act,
47 U.S.C. § 227)

52. Plaintiff incorporates herein by reference all of the above paragraphs

of this Complaint as though fully set forth herein at length

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53. On no less than fourteen (14) occasions, Defendant violated TCPA
47 U.S.C. § 227 (b)(l)(A)(iii) which states in pertinent part, “lt shall be unlawful

for any person within the United States . . . to make any call (other than a call

 

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COMPLAIN'I` FOR DAMAGES

 

 

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l made for emergency purposes or made with the prior express consent of the
2 called party) using any automatic telephone dialing system or an artificial or
3 prerecorded voice _ to any telephone number assigned to a . . . cellular telephone
4 service . . . or any service for which the called party is charged for the call.
5 54. On no less than fourteen (14) occasions, Defendant knowing and/or
6 willfully violated the TCPA. _
7 55. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is
8 entitled to an award of five hundred dollars ($500.00) in statutory dainages, for
9 each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). lf the Court finds
l() that Defendant knowingly and/ or willfully violated the TCPA, Plaintiff is entitled
ll to an award of one thousand five hundred dollars ($l,500.00), for each and every
l2 violation pursuant to 47 U.S.C. § 227(b)(3)(l3) and 47 U.S.C. § 227(b)(3)(C).
l3 56. Plaintiff is also entitled to seek injunctive relief prohibiting such
14 conduct in the fixture
15 PRAYER FOR RELIEF
16 WHEREFORE, Plaintiff respectfully requests that judgment be entered
l7 against Defendant for the following:
18 (a) Declaratory judgment that Defendant violated the RFDCPA and the
19 TCPA pursuant to 28 U.S.C. §§ 220l and 2202; and
20 (b) _ An injunction prohibiting Defendant from contacting Plaintiff on her
21 cellular phone using an automated dialing system pursuant to 47 U.S.C. §
22 227(b)(3)(A); and
23 (c) Actual damages pursuant to CAL. CIV. CODE § lVSS.BG(a) and 47
24 U.S.C. § 227(b)(3)(]3); and
25 (d) As a result ofDetendant’s violation of the RFDCPA, Plaintitt is
26 entitled to and requests statutory damages pursuant to CAL. Cl\f. CODE §
27 l788.3()(b); and
28

 

 

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COMPLAINT FOR DAMAGES

 

 

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fiase 2:13-cv-03450-BRO-RZ Document 1 Filed 05/14/13 Page 16 of 20 Page |D #:1€`

(@) AS a result er parameters violations er 47 u.s.c. § 2`27(b)(i),
Plaintiff is entitled to and requests five hundred dollars ($500.00) in statutory
damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B); and

(i) As a result of Defendant’s willful and/or knowing violations of 47
U.S.C. § 227(b)(l), Plaintiff is entitled to and requests treble damages, as
provided by statute, up to one thousand five hundred dollars ($1,500.00), for each
and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
227(b)(3)(C); and

(g) Costs and reasonable attorney fees pursuant to CAL. CIV. CODE §
l788.30(c); and

(h) Awarding Plaintiff any prejudgment and post-judgment interest as
may be allowed under the law; and

(i) For such other and further relief as the Court may deem just and
proper.

DEMAND FOR JURY TRIAL

Please take notice that Plaintiff demands a trial by jury in this action

RESPECTFULLY SUBMITTED,

Dated: l\/lay 10, 2013 PRICE LAW G OUP, A_P

. Thomas Martin, lll

     

 

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COMPLAINT FOR DAMAGES

 

 

 

Case 2:13-cv-03450-BRO-RZ Document 1 Filed 05/14/13 Page 17 of 20 Page |D #:17

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE ()F ASSIGNMENT T() UNITE]) STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District ludge Beverly Reid O'Connell and the assigned
discovery l\/lagistrate ludge is Ralph Zarefsl<y.

Tlre case number on all documents filed with the Court should read as follows:

CV].B~» 3450 BRO (RZX)

Pursuant to General Order 05~07 of the United States District Court for the Central
District of California, the l\/lagistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the l\/lagistrate Judge

NOTECE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (r'f a removal action is
filed, a copy of this notice must be served on all plaintiffs),

Subsequent documents must be fried at the following location

Western Division Southern Division Eastern Divisiora
312 N. Spring St., Rm. G~B 411 West Fourth St., an. 1'053 3470 Twelfth St., Rm. 134
Los Ange!es, CA 90012 Santa Ana, CA 92704 -4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-‘lB (03/06) NGT\CE OF ASS|GNNEENT TO UNl'l`ED STATES MAG!STRATE JUDGE FOR DlSCOVERY

Case 2:13-cv-03450-BRO-RZ Document 1 Filed 05/14/13 Page 18 of 20 Page |D #:18

AO 440 (Rev. ]2."09} Surnmons in a Civil Acticn

 

UNrrED SrArEs Dls'nucr CoURr

for the

Central District of Califomia

Maria Gonzatez

 

P.e‘az'nrr'jj‘"

v. Civil Action No.

Adlr |nternational, 110 d!bla Curacao , a foreign
limited liability company; and DOES 1 to tO,inclusive

 

" allan taparcher

 

Defendant

SUMMONS IN A CIVIL AC'I`ION

TO: (Defendant ’s name and address)
ADiR ENTERNAT|ONAL, LLC
dib/a CURACAO, a foreign limited liability company
1605 W. Olympic Boulevard, Suite 600
bos Angeles, Calitornia 90015

A lawsuit has been filed against you.

Within 21 days alter service of this simmons on you (not counting the day you received it) »- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
the Federal Rules of Civil Procedure. 'I`he answer or motion must be served on the plaintiff or plaintiffs attorney,
Whose name and address are: G. Thcmas Manin, !i|, Esq. (SBN 218456)

PRSCE i_AW GROUP, APC

15760 Ventura Blvd., Suite 1100
Encino, CA 91436

r: (sia) 907»2030; F: (see) ssr-2030
torn@plg|awhrm.corn

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion with the court.

rul t t 2013

‘Date'

 

 

! / 4/1 3 Page 19 of 20 Page |D #:19

Case 2:13-cv-03450-BRO-RZ Docum 1©@¢P
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UNITEI) STATE_S DISTR‘£CT CO RT, 'I` " ‘ L D "TRIC'I` OF CALIFORNIA
CIVIL COVER SHEET
I (a) PLAlNTlI~`FS {Chccic box ifyoo ore representing yourself lj) DEFENDANFS

MARIA GONZALEZ AD]R YN?ERNA'E`IONAL, LLC Cl/i)/a CU`RACAO, a foreign limited liability

company; end DOES 1 to 10, inclusive

 

(b) Altorneys (Firm Name, Address and Telephone Nzimbcr. lfyoo are representing
yourself, provide same)

o. rooms Moolo, or <slaN zlsloso)

PRICE F_.AW GROUP, APC
15760 Ventura Blvd_, Suite 1 100, Encino, CA 91436

Attomcys {lf Known)

 

 

II. BASIS OF JURISDICI`ION (Piace an X in one box only.) Il‘{. CITIZENSH]P 017 PR!NCIPAL PARTIES - For Divcrsity Cases Oniy
(Piace an X in one box for plaintiff and one for defendant.)
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IV. ORIGIN {Placc an X in one box only.)

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V. REQUESTED IN COMPLAINT; JURY DEMAND: l'll{Yes ij No (Checic ‘Yes’ only if demanded in complainti)
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V'[. CAUSE OF ACTION (Cite the U.S, Civii Staolte under which you are filing and write a brief statement of cause Do not cite jurisdictional statutes unless divorsity.)
i.‘S U.SiC. 168l et seq. Violations oftlze Fair Credit Report Act
V“lI. NATURE OF SUIT (Pfacc an X ill one box only.)

 

 
  
 
 
     
 

 
       

 

  
  
   

 

   
 
  

   

 
 
  

   

    

   
 

 

 

 

 

 

 

    

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Ratesl'etc. ij 150 Recove!y of [3 329 Assa“]t) leel & ij 380 Other Personai ij 530 Genera§ ij 730 LeborfMgmt,

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lj 470 Racl<etcer Intll.renced Enforcelnent of 5 330 F°d ,E,mpl°)’ers ij 385 Property Darnage ij 540 Mandamus/ Disclosure Act
and Con“upt Judgment § 340 L‘ab_’]*ty _ _ P Other ij 740 Raiiway Labor Act
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Case 2:13-cv-03450-BRO-RZ Document 1 Filed 05/14/13 Page 20 of 20 Page |D #:20

UNI'I`ED STATES DISTRICT COUR'I`, CENTRAL DIS'{`RICT OF CALIFORNI.A
CIVIL COVER SHEE'I`

VIII(a). D)ENTICAL CASES: lies this action been previously fried in this court and dismissed, remanded or closed? EJNO l:i Yes
Ifyes, list case number(s):

 

VIII(b). RELA'I`ED CASES: Havc any cases been previously fitted in this court that are re§ated to the present case? l!(No ij Yes
If`yes, iist case number(s:):

 

Civil tases are deemed related ila previously filed case and the present case:
(Check all boxes that app§y) B A. Arise l`rom the same or closely related transactions, happenings or evenfs; or
ll'.l B. Call for determination of the same or substantially related or similar questions oflaw end fact; or
EJ C. For other reasons would entail substantlai duplication of iaer if heard by diit`erentjudges; or
IZI| D. lnvo§ve the same patent, trademark or copyright grid one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When comp§eting the following information, use an additional sheet if neeessary.)

(a} List the County in this Distrlct', Califorrzia County outside of this District; State if other than Calil`ornia; or Foreign Country, in which EA CH named plaintiff resides
ill Check here ifthe govemment, its agencies or employees is a named pleinti§f. If this box is checked, go to item (b).

 

County in this Disu'ict:* _ California County outside ofthis District; State, if other than Ca§ifornia; or Foreign Country
bos Angcles

 

 

(b} List the County in this Distr'ict; Cali§omia Counly outside of this Distriet; Staze if other than Caiifomia; or Foreign Count'ry, in which EACH named defendant resides
|Il Check here if the government irs agencies or employees is a named defendant Ifthis box is checked, go to item {c).

 

Couuty in this Dis¥rict:* Califomia Oounty outside of this Dism'ct; State, if other than California; or Foreign Countzy
Los Angeies

 

 

 

 

 

(c) List the County in this Distriet; Califomia County outside ofthis District; Statc if other titan Cnliforn§a; or Forcign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved

 

County in this District:* Celifornia County outside of this District; State, if other than Ca§ifornz`a; or '.i~`oreign Counrry
Los Angeles

 

 

 

 

 

* Los Angeles, Ornngc, San Bernardino, Riverside, Ventura, Santa Barl)ara, or San Luis Obispo Counties
Note: In land condemnation cases use the location of the tract of land invoived

X. SIGNATURE OF ATTOR.NEY (OR PRO PER}: %1 l_ l)I`M MM gate 05/13/2{)13
Notice to ConnselfPa rties: The CV-’."’l (38~44) Civél Cover Sheet and the information contained herein neither replace nor supplement the iiling and service of pleadings
or other papers as required by law. This form, approved by the judicial Conference of` the Un§ted Statcs in Septern§)er l 974, is required pursuant to Loeal Rule 3~§ is not filed
but is used by the Clerk ofthe Court for the purpose of statistics, venue and initiating the civil docket sheet {For more detailed instructions see separate instructions sheet.)

 

 

Key to Statistical codes relating to Social Sccurity Ceses:

Nature ofSuit Code Abbreviation Substantive Statement of Cause of Action

861 HZA Ali c§ainis for health insurance benefits (Medicarc) under “l“§tle 18, Part A, of the Social Security Act, as amended
Aiso, inciude claims by hospitals, skilled nursing facilities, etc., For certification as providers ofservices under the
program {42 U.S.C. i935FF(b))

 

862 BL A¥l claims for “Blacic i,ung” benefits under `l"it§e ltd Part B, of the Federal Coal M§ne Health and Safety Act of t969.
{30 U.S.C. 923}

863 DIWC All claims died by insured workers for disability insurance benefits under Title 2 of the Soc§al Security Act, as
amcnded; plus all claims filed f’or child’s insurance benefits based on disability (42 U.S,C. 405{g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under 'i”itle 2 of the Social Security
Act, as amended (42 U.S`C` 405(§))

864 SSID All claims for supplemental security income paymean based upon disabiiity filed under ?itle 15 ofthe Social Security
Act, as amended

865 RSI All claims for retirement (oid age) and survivors benefits under Title 2 of the Social Secun`r.y Act, as amended (42
U~S-C~ (g))

 

CV-')'l ({)5!08) CIV’IL COVER SHEET Page 2 on

